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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO


MARK MONDRAGON o/b/o
D.M. a minor child,

         Plaintiffs,

vs.                                                            Case No. 1:21-CV-00427 MV/KRS

RIO RANCHO PUBLIC SCHOOLS,
BOARD OF EDUCATION and
GEORGE ARCHULETA in his
Individual and official capacity,

         Defendants.

      DEFENDANTS’ JOINT RESPONSE TO MOTION TO MODIFY SCHEDULING
      ORDER AND EXTEND CURRENT CASE MANAGEMENT DEADLINES AND
            VACATE THE MEDIATION SET FOR NOVEMBER 9, 2021

         COME NOW Defendants, by and through undersigned counsel, hereby respond to

Plaintiff’s Motion to Modify Scheduling Order and Extend Current Case Management Deadlines

and Vacate the Mediation Set for November 9, 2021, [Doc. 23], as follows:

      1. Defendants are not opposed to the extension of the expert witness designation deadline;

      2. Defendants are also in agreement that other case management deadlines will likely need to

         be extended including the rescheduling of the Settlement Conference set on November 9,

         2021;

      3. Further, based on Plaintiff’s Motion in the Wherefore paragraph, Plaintiff does not identify

         what relief is specifically being sought.

      4. Defendants respectfully request that the Court provide direction to the parties to resolve

         the requests made in Plaintiff’s motion at the Status Conference scheduled for October 14,

         2021. [Doc. 20].
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   5. Defendants will proceed in good faith to meet and confer with Plaintiff’s counsel prior to

       the status conference and develop a Proposed Amended Scheduling Order for the Court’s

       consideration.

                                              Respectfully submitted:

                                              WALZ AND ASSOCIATES, P.C.

                                              /s/ Jerry A. Walz, Esq.
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                                              QUIÑONES LAW FIRM LLC

                                              /s/ Carlos M. Quiñones, Esq.
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of September, 2021, I filed the foregoing

electronically through the CM/ECF system which caused all parties of record to be served by

electronic mail, as more fully reflected in the Notice of Electronic Filing.

/s/ Jerry A. Walz
Jerry A. Walz, Esq.




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